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*
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                                               U nited States D istrict C ourt
                                                           Southern D istrictof Florida
                                                                       M IAM IDIVISION

      UNITED STATES O F AM ERICA                                              JUDGM ENT IN A CW M INAL CASE

      V.                                                                      CaseN um ber .1:12-20071-CR-SEITZ-1

      FRANCISCO CUBERO
                                                                              USM N um ber'
                                                                                          .97879-004
                                                                              CounselForDcfendant:ManuelGonzalez
                                                                              CounselForThtUnitedStates:VanessaJohannes
                                                                              CourtReporter:GildaPastor-ldernandez



      Thedefendantpleaded guiltyto Counts 1,2,3oftheIndictm ent.
      Thedefendantisadjudicatedguiltyofthefollowingoffenses:

             TITLE/SECTIO N                               NA TUR E O F
                NUM BER                                    O FFENSE                O FFENSE ENDED                         CO UNT
       18U.S.C.j2252(042)                      D istribution ofchild               D ecem ber17,201l                       ON E
                                               pornography
       18U.S.C.j2252(a)(4)(B)                  Possessionofchild                     January 29,2012                      2and3
                                               pornography

      Thedefendantissentencedasprovided in thefollowingpagesofthisjudgment.The sentence isimposed pursuantto tht
      SentencingReform Actof1984.

      Itisordered thatthedefcndantmustnotify theUnited Statesattorney forthisdistrictwithin 30 daysofany change ofname,
      residence,ormailingaddressuntilalltines,restitution,costsandspecialassessmentsimposedbythisjudgmentarefullypaid.
      lforderedtopayrestitution,thedefendantm ustnotifythecourtandUnited Statesattorneyofanym aterialchangesineconom ic
      circum stances.

                                                                                      DateoflmpositionofSentence:
                                                                                      Novem ber21,2012




                                                                                      FO ERICO A.MORENO
                                                                                      ChiefU nited StatesDistrictJudge
                                                                                      NovemberJ           ,   2012
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  DEFENDANT:FM NCISCO CUBERO
  CASE NUM BER:1:12-20071-CR-SElTZ-1

                                                    IM PR ISO NM EN T
             Thedefendantishereby conunitted tothecustodyoftheUnited StatesBureau ofPrisonsto beimprisoned foratenn
  ofTOTAL SENTENCE:151MONTHS.lcount1-151months;Counts2and3-120months,torunCONCURRENTto
  Count1.)
  TheCourtmakesthefollowingrecommendationstotheBureauofPrisons:

            500-hourDrug TreatmentProgram

  Thedefendantisremanded to thecustody ofthe United StatesM arshal.




                                                        RE TUR N

 lhaveexecutedthisjudgmentasfollows:




 Defendantdelivered on                                to

  at                                                          ,withacertifiedcopyofthisjudgment.


                                                                               UNITED STATES G RSM L


                                                                      By:
                                                                                    Deputy U .S.M arshal
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  DEFENDANT:FRANCISCO CUBERO
  CASE NUM BER:1:12-20071-CR-SEITZ-1

                                                   SU PER VISED RELEA SE

 Upon releasefrom imprisonment,thedefendantshallbeon supervisedreleaseforaterm ofLIFE.

 Thedefendantmustreporttotheprobation oftkeinthedistricttowhichthedefendantisreleasedwithin72hoursofreleasefrom
 thecustodyoftheBureauofPrisons.

 Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.

 Thedefendantshallnottmlawfully possessacontrolled substance. The defendantshallrefrain from any unlawfuluse ofa
 controlledsubstance.Thedefendantshallsubmittoonedrugtestwithin 15daysofreleasefrom imprisonmentandatleasttwo
 periodicdrugteststhereafter,asdeterm inedby thecourt.

            Thedefendantshallnotpossessa firearm ,am m unition,destructivedevice,oranyotherdangerousw eapon.

            Thedefendantshalleooperatein thecollection ofDNA asdirected by the probation officer.


        lfthisjudgmentimposesafineorarestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordance
 withtheScheduleofPaymcntssheetofthisjudgment.
           Thedefendantmustcomply withthestandardconditionsthathavebeen adoptedbythiscourtaswellasanyadditional
  conditionson theattached page.

                                       STA ND A RD C O N DITIO N S O F SU PER V ISIO N

  1.        thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofticer;
  2.        thedefendantshallreporttotheprobationofticerinamannerandfrequencydirectedby t    llecourtorprobationoftk er;
  3.        thedefendantshallanswertruthfully a11inquiriesbytheprobationofticerand follow theinstructionsoftheprobation officer;
  4.        thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities'   ,
  5.        thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobationofticerforschooling,training,orotheracceptable
           reasons'
            thedefendantshallnotifytheprobationofticeratIeastten(10)dayspriortoanychangeinresidenceoremployment;
           thedefendantshallrefrain from theexcessiveuse ofalcoholand shallnotpurchase,possess,use,distribute,oradministerany controlled
           substanceorany paraphernaliarelatedto anycontrolled substances,exceptasprescribedby aphysician;
           thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradministered;
           thedefendantshallnotassociatewithanypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofafelony,
           unlessgrantedpennissiontodo sobytheprobation officer;
           thedefendantshallpennita probation ofticerto visithim orheratany timeathome orelsewhereand shallpermitcontiscation ofany
           contrabandobservedinplain view by theprobationofficer;
            thedefendantshallnotifytheprobationofticerwithinseventptwo(72)hoursofbeingarrestedorquestionedbya1aw enforcementofficer;
            thedefendantshallnotenterinto anyagreementtoactasaninformeroraspecialagentofalaw enforcementagencywithoutthepennission
            ofthecourqand
            asdirectedbytheprobationofficer,thedefendantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scriminalrecord
            orpersonalhistory orcharacteristicsand shallpermitthe probation officerto makesuch notificationsand to confirm the defendant's
            compliancewithsuchnotification requirement.
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  DEFEN DANT:FM NCISCO CU BERO
  CASE NUM BER:1:12-20071-CR-SElTZ-1

                                            SPECIAL CONDITIONS OF SUPERVISION

             Thedefendantshallalsocomply withthefollowingadditionalconditionsofsupervisedrelease:

 Adam W alshActSearchCondition-ThedefendantshallsubmittotheU.S.Probationoffcerconductingperiodicunalmounced
 searchesofthedefendant'sperson,property,house,residence,vehicles,papers,computerts),otherelectronicconuntmicationor
 datastoragedevicesormedia,includeretrievalandcopying ofal1data from thecomputerts)and any internalorexternal
 peripheralsandeffectsatanytime,withorwithoutwarrantbyanylaw enforcementorprobationom cerwithreasonablesuspicion
 concerningunlawfulconductoraviolationofaconditionofprobationorsupervisedrelease.Thesearchmayincludetheretrieval
 andcopyingofalldata9om thecomputerts)andanyinternalorexternalperipheralstoensurecompliancewithothersupervision
 conditionsand/orremovalofsuchequipmentforthepurposeofconductingamorethoroughinspection;andtohaveinstalledon
 thedefendant'scomputerts),atthedefendant'sexpense,anyhardwareorsohwaresystemstomonitorthedefendant'scomputer
 use.

 ComputerM odem Restriction-Thedefendantshallnotpossessoruseacomputerthatcontainsaninternal,cxtem alorwireless
 m odem withoutthepriorapprovaloftheCourt.

 ComputerPossession Restriction -Thedefendantshallnotpossessoruseanycomputer;exceptthatthedefendantm ay,with
 thepriorapprovaloftheCourt,useacomputerin connectionwithauthorizedemployment.

 M entalHeaIthTreatment- Thedefendantshallparticipateinanapprovedinpatient/outpatientmentalhealthtreatmentprogram.
 Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailabilityofthirdparty
 Paym ent.

 No Contactwith M inors-Thedefendantshallhavenopersonal,m ail,telephone,orcomputercontactw ithchildren/m inorsor
 withthevictim .

 NoContactwithM inorsinEmployment-Thedefendantshallnotbeemployedinajobrequiringcontactwithchildrenorwith
 thevictim .

 No Involvem entin Youth O rganizations-Thedefendantshallnotbe involved inany children'soryouthorganization.

 PermissibleSearch-Thedefendantshallsubmitto asearchofhis/herpersonorpropeo conductedinareasonablemannerand
 atareasonabletim eby theU.S.Probation Officer.

 Restricted from Possession ofSexualM aterials-Thedefendantshallnotbuy,sell,exchange,possess,trade,orproducevisual
 depictionsofminorsoradultsengaged in sexually explicitconduct. Thedefendantshallnotcorrespond orcommtmicatein
 person,bymail,telephone,orcomputer,with individualsorcompaniesofferingtobuy,sell,trade,exchange,orproducevisual
 depictionsofminorsoradultsengagedin sexually cxplicitconduct.

 SexOffenderTreatment-Thedefendantshallparticipatein asexoffendertreatmentprogram toincludepsychologicaltesting
 and polygraph examination. Participation may include inpatient/outpatienttreatment,ifdeemed necessary by thetreatment
 provider.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailabilityof
 third partypaym ent.

 SubstanceAbuseTreatm ent-Thedefendantshallparticipateinanapprovedtreatmentprogram fordrugand/oralcoholabuse
 andabidebyal1supplem entalconditionsoftreatment.Participationm ay includeinpatient/outpatienttreatm ent.Thedefendant
 willcontributetothecostsofservicesrcndered(co-payment)basedonabilitytopayoravailabilityofthirdpartypayment.




                                                                                                N .ow-
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  DEFENDANT:FM NCISCO CUBERO
  CASE NUM BER:1:12-2007l-CR-SElTZ-1

                                                 CR IM IN AL M O N ETA RY PEN A LTIE S


         The defendantmustpay the totalcriminalmonetary penalties underthe schedule ofpaymentson the Schedule of
  Paymentssheet.

                 TotalAssessm ent                              TotalFine                           TotalR estitution
                       $300.00                                    $                                        $



 *FindingsforthetotalamountofIossesarerequi
                                          redunderChaptersl09A,110,ll0A,and 113A ofTi
                                                                                    tlel8,UnitedStatesCode, foroflknsescommittedon
 oraherSeptember13,1994,butbeforeApril23,1996.




                                                                                                           Nmr
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      DEFENDANT:FRANCISCO CUBERO
      CASE NUM BER:1:l2-20071-CR-SEITZ-1

                                                         SCHEDULE OF PAYM ENTS

      Having assessedthedefendant'sability topay,paymentofthetotalcriminalmonetary penaltiesaredueasfollows:

                 A.Lump sum paymentof$300.00 dueirnmediately,balance due


      Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenalties
      isdueduringimprisomnent.Allcriminalmonetarypenalties,exceptthosepaymentsmadethroughtheFederalBureauofPrisons'
      lnmateFinancialResponsibility Program,aremadetotheclerkofthecourt.

      Thedefendantshallreceivecreditforallpaymentspreviouslym adetow ard any crim inalm onetary penaltiesim posed.

      Theassessm ent/fine/restitution ispayableto theCLER K,UN ITED STATES COU RTS and isto beaddressed to:

                 U.S.CLERK 'S OFFICE
                 ATTN:FINANC IA L SECTIO N
                 400 NO RTH M IAM IAVENU E,R OO M 8N 09
                 M IAM I,FLO RIDA 33128-7716

      Theassessment/fine/restitution ispayableim m ediately.TheU .S.Bureau ofPrisons,U.S.Probation O fficeand theU.S.
      Attorney's O ffice are responsible forthe enforcem entofthis order.



      Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)tineprincipal,
      (5)fineinterest,(6)conzmunityrestitution,t7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.




                                                                                                          .....K .''e..


                                                                                                     a          a
